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 6

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,                                CASE NO. 1:21-CR-00115-DAD-BAM
11                                 Plaintiff,               STIPULATION REGARDING EXCLUDABLE
                                                            TIME PERIODS UNDER SPEEDY TRIAL ACT;
12                          v.                              FINDINGS AND ORDER
13 WESLEY TSUKAMOTO,                                        DATE: January 12, 2022
   JASON AGUILAR,                                           TIME: 1:00 p.m.
14 DARCY CALAFIORE,                                         COURT: Hon. Barbara A. McAuliffe
   CESAR ESTEVAN RODRIGUEZ,
15 HECTOR HERNANDEZ,
   RICK LEE HUTCHINSON, and
16 ANTOINETTE MAGER,
                       Defendants.
17

18
            This case is set for status conference on January 12, 2022. On May 13, 2020, this Court issued
19
     General Order 618, which suspends all jury trials in the Eastern District of California “until further
20
     notice.” Further, pursuant to General Order 611, this Court’s declaration of judicial emergency under 18
21
     U.S.C. § 3174, and the Ninth Circuit Judicial Council’s Order of April 16, 2020 continuing this Court’s
22
     judicial emergency, this Court has allowed district judges to continue all criminal matters to a date after
23
     May 2, 2021.1 This and previous General Orders, as well as the declarations of judicial emergency,
24
     were entered to address public health concerns related to COVID-19.
25
            Although the General Orders and declarations of emergency address the district-wide health
26
27
            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
            1

28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
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 1 concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision

 2 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 3 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 4 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such

 5 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 6 (9th Cir. 2000) (explaining that a judge ordering an ends-of-justice continuance must set forth explicit

 7 findings on the record “either orally or in writing”).

 8          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 9 and inexcusable—General Orders 611, 612, 617, and 618 and the subsequent declaration of judicial
10 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

11 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

12 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

13 § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of

14 the case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

15 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

16          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”

17 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

18 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

19 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

20 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d
21 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

22 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

23 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

24 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

25 by the statutory rules.

26          In light of the societal context created by the foregoing, this Court should consider the following

27 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

28

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 1 justice exception, § 3161(h)(7) (Local Code T4). 2 If continued, this Court should designate a new date

 2 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 3 pretrial continuance must be “specifically limited in time”).

 4                                               STIPULATION

 5          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

 6 through defendants’ counsel of record, hereby stipulate as follows:

 7          1.     By previous order, this matter was set for status on January 12, 2022.

 8          2.     By this stipulation, defendants now move to continue the status conference until April 13,

 9 2022, and to exclude time between January 12, 2022, and April 13, 2022, under 18 U.S.C.
10 § 3161(h)(7)(A), B(iv) [Local Code T4].

11          3.     The parties agree and stipulate, and request that the Court find the following:

12                 a)      The government has represented that the discovery associated with this case

13          includes reports, photographs, and audio files and is voluminous. This discovery has been either

14          produced directly to counsel and/or made available for inspection and copying, and the

15          production of or availability of more discovery is anticipated.

16                 b)      Counsel for defendants desire additional time to further review discovery, discuss

17          potential resolution with defendants and the government, and investigate and prepare for trial.

18                 c)      Counsel for defendants believe that failure to grant the above-requested

19          continuance would deny him/her the reasonable time necessary for effective preparation, taking

20          into account the exercise of due diligence.

21                 d)      The government does not object to the continuance.

22                 e)      Based on the above-stated findings, the ends of justice served by continuing the

23          case as requested outweigh the interest of the public and the defendant in a trial within the

24          original date prescribed by the Speedy Trial Act.

25                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26          et seq., within which trial must commence, the time period of January 12, 2022 to April 13,

27
            2
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1          2022, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 2          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

 3          of the Court’s finding that the ends of justice served by taking such action outweigh the best

 4          interest of the public and the defendant in a speedy trial.

 5                 g)      The parties also agree that this continuance is necessary for several reasons,

 6          including but not limited to, the need to permit time for the parties to exchange supplemental

 7          discovery, engage in plea negotiations, and for the defense to continue its investigation and

 8          preparation, pursuant to 18 U.S.C. § 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

 9          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

10 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

11 must commence.

12          IT IS SO STIPULATED.

13
      Dated: December 28, 2021                                PHILLIP A. TALBERT
14                                                            United States Attorney
15
                                                              /s/ STEPHANIE M. STOKMAN
16                                                            STEPHANIE M. STOKMAN
                                                              Assistant United States Attorney
17

18
      Dated: December 28, 2021                                /s/ JOHN GARLAND
19                                                            JOHN GARLAND
20                                                            Counsel for Defendant
                                                              WESLEY TSUKAMOTO
21

22    Dated: December 28, 2021                                /s/ ROGER WILSON
                                                              ROGER WILSON
23                                                            Counsel for Defendant
                                                              JASON AGUILAR
24

25    Dated: December 28, 2021                                /s/ KOJO MOORE
                                                              KOJO MOORE
26
                                                              Counsel for Defendant
27                                                            CESAR ESTEVAN
                                                              RODRIGUEZ
28

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 1
      Dated: December 28, 2021                          /s/ DAVID BALAKIAN
 2                                                      DAVID BALAKIAN
                                                        Counsel for Defendant
 3
                                                        HECTOR HERNANDEZ
 4

 5    Dated: December 28, 2021                          /s/ MICHAEL BERDINELLA
                                                        MICHAEL BERDINELLA
 6                                                      Counsel for Defendant
                                                        DARCY CALAFIORE
 7

 8    Dated: December 28, 2021                          /s/ DOUGLAS FOSTER
                                                        DOUGLAS FOSTER
 9                                                      Counsel for Defendant
10                                                      ANTOINETTE MAGER

11
      Dated: December 28, 2021                          /s/ RICHARD BESHWATE
12                                                      RICHARD BESHWATE
                                                        Counsel for Defendant
13                                                      RICK LEE HUTCHINSON
14

15
                                                 ORDER
16
           IT IS SO ORDERED that the status conference is continued from January 12, 2022, to April 13,
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     2022, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to 18
18 U.S.C.§ 3161(h)(7)(A), B(iv).

19

20 IT IS SO ORDERED.
21
        Dated:   January 5, 2022                         /s/ Barbara A. McAuliffe           _
22
                                                  UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME         5
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